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           1       ,'ic_,)_;,·"Ji\i·.,
                                        UNITED STATES DISTRICT COURT
                                   . FOR THE DISTRICT OF NEBRASKA
    2016 DEC I It PM 12: 02
UNITEOSJATl;:S OF AMERICA,                        )           CASE NO. 8:15CR343
                         ,i:
   U1· 1- ivc. lh i ik GLt.i                 )
                             Plaintiff,           )         ORDER FOR ISSUANCE OF
                                                  )          SUBPOENAS IN FORMA
v.                                                )               PAUPER/S
                                                  )
JERELL HAYNIE,                                    )
                                             )
                      Defendant.             )

      THIS MATTER came before the Court on the Motion of the Defendant for an order

allowing the issuance of Subpoenas Jn Forma Pauperis, (Filing# 336) pursuant to Fed. R.

Crim. P. 17.

      The Court, being fully advised in the premises, finds that the Motion should be

granted.

      IT IS THEREFORE ORDERED

      1.       That the Clerk of the District Court is ordered to issue the subpoena as

identified in Defendant's Motion and supporting Affidavit and as directed by the

Defendant, and that the Defendant is relieved of any obligation to pay for same.

      2.       That said costs, if any, be paid by the United States.

      3.       That said subpoenas be served by the U.S. Marshal's office.




                                           The Ho    r b   .A. Gossett 111
                                           United      s Magistrate Judge
